                              UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF NEW MEXICO
In re:
GREGORY BLEA and
ISABEL BLEA,
       Debtor(s)                                                                       No. 19-10520-t7

               NOTICE OF DEADLINE FOR FILING OBJECTIONS TO MOTION
                TO APPROVE SALE OF REAL PROPERTY TO MELISSA JONES

        Please take notice that on August 22, 2019, Philip J. Montoya, Trustee, forwarded to the
Court for filing, Motion to Approve Trustee’s Sale of Real Property to Melissa Jones, in which he
asks the Court for its Order approving the proposed sale of real property located at as 7401 Frank
Place NE, Albuquerque, New Mexico 87109 to Melissa Jones for the cash sum of $98,000.00. A
copy of the aforesaid Motion is on file with the Bankruptcy Court Clerk and is available for
public inspection.
        IF YOU OBJECT to the Application, you must file an objection with the Clerk of United
States Bankruptcy Court, District of New Mexico, Pete V. Domenici U.S. Courthouse, 333 Lomas
Blvd., NW, Suite 360, Albuquerque, NM 87102, within 21 days of the date of service of this notice.
If you are an attorney, you must electronically file your objection. You must serve your objection
to Philip J. Montoya, Attorney for Applicant, 1122 Central Avenue SW, Suite 3, Albuquerque,
New Mexico 87102, (505) 244-1152.

        If objections are timely filed, a hearing to consider them will be had before the Honorable
David T. Thuma, Brazos Courtroom, 5th Floor, Pete V. Domenici U.S. Courthouse, 333 Lomas
Blvd., NW, Suite 360, Albuquerque, NM 87102 on short notice to Philip J. Montoya and any
objecting party.

       If no objections are timely filed, the Court may consider entry of an Order granting the
application that has been presented to the Court.
                                                    Filed electronically
                                                    Philip J. Montoya
                                                    Chapter 7 Trustee
                                                    1122 Central Avenue SW, Suite 3
                                                    Albuquerque, NM 87102
                                                    (505) 244-1152
                                                    pmontoya@swcp.com

I certify that I mailed a copy of this notice, via first class mail to the Debtor(s), and all creditors
and parties of interest included on the mailing matrix. A copy of the mailing matrix is attached
to the original of this notice.
                                                         Filed electronically
                                                         Philip J. Montoya
Date of Mailing: 8/22/19

Note: Inquiries regarding this hearing should be directed to Philip J. Montoya, Attorney for Trustee, 1122 Central
Avenue SW, Suite 3, Albuquerque, New Mexico 87102, (505) 244-1152, pmontoya@swcp.com.




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